     Case 8:18-cv-00138-JLS-JDE Document 49 Filed 05/11/18 Page 1 of 1 Page ID #:3799



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                             UNITED STATES DISTRICT COURT
 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

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      ____________________________________
      JOHN C MANOS                        )         Case No. 8:18-cv-00138-JLS-JDE
11                                        )         Civil Action
12    PLAINTIFF                           )
                                          )         Hon. Judge Staton
13              vs                        )
14
                                          )
                                          )
15    THE WOLF FIRM et al.                )
                                          )         JUDGMENT
16
      DEFENDANTS                          )
17                                        )
      ____________________________________)
18

19          The Court enters Judgment in favor of Defendants as to the Fourth Cause of
20    action for violation of the FDCPA.
21
      DATE: May 11, 2018
22                                               ___________________________
23                                               Hon. Josephine L. Staton
                                                 United States District Judge
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